                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE


   UNITED STATES OF AMERICA

   v.                                                    Case No.: 1:17−cr−00069−HSM−SKL

   BRANDON HORTON


                                   ORDER OF DETENTION PENDING TRIAL

        Defendant Brandon Horton appeared for a detention hearing before the undersigned on October 18,
   2017. Defendant was advised of the right to a detention hearing. Upon being duly sworn, and with advice of
   counsel, defendant waived the right to a detention hearing with the understanding that a hearing will be
   granted at a later date on motion of defendant. Pending further hearings in this matter, defendant shall be held
   in custody by the United States Marshal and produced for future hearings.




   ENTER.


                                                      s/Susan K Lee
                                                      UNITED STATES MAGISTRATE JUDGE




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